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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

      IN THE MATTER OF                        IN PROCEEDINGS
                                              UNDER CHAPTER 7
      KEVIN CHIDLEY
      LISA CHIDLEY,                           CASE NO. 19-80578
                                              JUDGE: Lynch
                   DEBTORS
                                NOTICE OF MOTION
Notified via Electronic Filing
U.S. Trustee, 780 Regent St., Suite 304, Madison, WI 53715
Richard J. Mason, 77 W Wacker Dr, Ste 4100, Chicago, IL 60601
Bernard J Natale, 1639 N Alpine Rd, Suite 401, Rockford, IL 61107
Notified via US Postal Service
Kevin Chidley, 1212 14th St, Rochelle, IL 61068
Lisa Chidley, 1212 14th St, Rochelle, IL 61068

       On June 12, 2019, at 9:00 a.m. or as soon thereafter as I may be heard, I shall
appear before The Hon. Thomas M. Lynch, First Floor Courtroom at the United States
Bankruptcy Court, 327 South Church Street, Courtroom - Rm. 3100, Rockford, IL
61101 or before any other judge who may be presiding in his stead and shall present
the accompanying motion.
                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he/she caused a true and correct copy of
the above and foregoing document to be sent to the Debtors at the address listed
below. Said copy was placed in an envelope addressed as listed below and placed in
the U.S. Mail on May 24, 2019, with first class postage prepaid. All other parties entitled
to notice received such notice electronically, through the office of the Clerk of the Court.

                                   Respectfully Submitted,

                                   /s/ Richard B. Aronow
Mike Kalkowski ARDC #6185654
Richard B. Aronow ARDC# 03123969
Michael N. Burke ARDC#6291435
Shapiro Kreisman & Associates, LLC
2121 Waukegan Road, Suite 301
Bannockburn, IL 60015
(847) 291-1717
19-090599
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The firm of Shapiro Kreisman & Associates, LLC is a debt collector. This is an
attempt to collect a debt. Any information may be used for that purpose. If your
personal liability for this debt has been extinguished, discharged in bankruptcy
or if a court order prohibits collecting this debt from you personally, then this is
an attempt to enforce the Movant’s rights with respect to the property addressed
herein, and it is not an attempt to collect the debt from you personally.
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

      IN THE MATTER OF                       IN PROCEEDINGS
                                             UNDER CHAPTER 7
      KEVIN CHIDLEY
      LISA CHIDLEY,                          NO. 19-80578
                                             JUDGE: Lynch
                   DEBTORS

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its

attorneys, Shapiro Kreisman & Associates, LLC, and moves this Court for the entry of

an order modifying the automatic stay, pursuant to 11 USC 362(d) and in support

thereof states as follows:

1.     The Debtors filed a Chapter 7 Petition on March 15, 2019.

2.     That the Movant is a creditor of the Debtors’, pursuant to a note secured by a

mortgage on the real property commonly known as: 1212 14th St, Rochelle, IL 61068.

3.     The Debtors are in default under the terms of the note and the mortgage for

failure to make the installment payment that came due on April 1, 2019, in the amount of

$647.94 and each subsequently accruing monthly installment. That default does not

include attorneys' fees, costs of collection and other advances and it does not constitute

reinstatement.

4.     The indebtedness due Movant as of May 2, 2019, was $86,022.72, after applying

all offsets and credits due the Debtors.
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5.     The Debtors' Schedules suggest that the property has a fair market value of

approximately $225,000.00.

6.     A title search has disclosed that, in addition to the lien running in favor of the

Movant, the property is subject to a junior lien in favor of Holcomb State Bank. The loan

secured by that lien was written in the amount of $212,523.00 on September 28, 2017.

7.     The Debtors have claimed an exemption in up to $30,000.00 in equity in the

subject property.

8.     Attached are redacted copies of any documents that support the Movant’s claim,

such as promissory notes, purchase order, invoices, itemized statements of running

accounts, contracts, judgments, mortgages, and security agreements in support of right

to seek a lift of the automatic stay and foreclose if necessary.

9.     The Movant adopts the facts set forth in the Statement of Default as additional

allegations in support of this motion.

10.    The Movant lacks adequate protection in that there is no equity in the premises

and that the Debtors are not making payments to the Movant as required by the

mortgage and note.

11.    The subject property is not necessary for an effective reorganization and the

Movant is entitled to relief pursuant to 11 USC 362(d).

12.    The Movant wishes to be reimbursed for the costs and attorneys' fees of filing
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this motion.

13.    For the reasons set forth above, it would be inequitable to delay the enforcement

of any order modifying the automatic stay with respect to the Movant.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper prays that this Court

enter an order modifying the automatic stay to allow said creditor to foreclose the

mortgage or, in its sole discretion, to accept a short sale or deed in lieu of foreclosure

on the property known as:1212 14th St, Rochelle, IL 61068; and that Federal

Bankruptcy Rule 4001(a)(3) be waived.

                                   Respectfully submitted,

                                   /s/ Richard B. Aronow________________
                                   Attorney for Nationstar Mortgage LLC d/b/a Mr.
                                   Cooper


Mike Kalkowski ARDC #6185654
Richard B. Aronow ARDC# 03123969
Michael N. Burke ARDC#6291435
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